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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,

              vs.

MARK ANDREW McMICHAEL,
                                                                   INDICTMENT
                  Defendant.
_________________________________/

       The Grand Jury charges:

                                        COUNT 1
                (Committed Person in Possession of Firearms and Ammunition)

       On or about December 1, 2017, in Grand Traverse County, in the Southern Division of

the Western District of Michigan,

                              MARK ANDREW McMICHAEL,

having been committed to a mental institution, knowingly possessed the following firearms and

ammunition in and affecting commerce:

 Item No.             Description:
 18-ATF-006012        Mossberg, Model 4x4, .30-06 caliber bolt-action rifle, serial number (SN)
                      BA190225
 18-ATF-006013        Mossberg, Model 183, .410 gauge bolt-action shotgun, SN unknown
 18-ATF-006014        Brno Zbrojovka, 8mm rifle, SN SR4638
 18-ATF-006015        Mosin-Nagant, 7.62mm rifle, SN 19256
 18-ATF-006016        Mosin-Nagant, 7.62mm rifle, SN R002566
 18-ATF-006018        Ruger, Model 10/22, .22 caliber semiautomatic rifle, SN 129-86131
 18-ATF-006020        RGuns/Sportswereus, Inc., Model TRR-15 semiautomatic rifle, receiver/frame,
                      SN TRR0A2327
 18-ATF-006022        Brno Zbrojovka, 8mm rifle, SN 7903Y4
 18-ATF-006024        Century Arms International, Model CETME Sporter, .308 caliber
                      semiautomatic rifle, SN C59156
 18-ATF-006025        Ruger, New Model Single-Six, .22 caliber revolver, SN 268-37456
 18-ATF-006027        Swiss K31 7.5x55 mm, rifle, SN 704016
 18-ATF-006028        Zastava 8mm rifle, SN T11640
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18-ATF-006029    Mauser, Model M98, 8mm rifle, SN 9061
18-ATF-006030    Yugoslavian, Model M48, 8mm rifle, SN K37444
18-ATF-006032    Carl Gustaf, Model 96, 6.5mm rifle, SN 361623
18-ATF-006033    Yugoslavian, M24/47, 7.92mm rifle, SN ZH205
18-ATF-006035    Carl Gustaf, Model 96, 6.5mm rifle, SN 339599
18-ATF-006036    Marlin, Model 336, .30-30 caliber, lever-action rifle, SN AC27122
18-ATF-006037    Enfield, Model No. 4 Mk I, .303 caliber, bolt-action rifle, SN 25C3168
18-ATF-006038    Yugoslavian Model 59/66, 7.62mm semiautomatic rifle, SN S-65Z123
18-ATF-006039    Swiss K31, 7.62mm rifle, SN 956696
18-ATF-006040    Remington Arms, .30-06 caliber rifle, SN 207922
18-ATF-006041    Remington Arms, Model 81, .35 caliber rifle, SN 43211
18-ATF-006042    Swiss K31, 7.5x55mm rifle, SN 925272
18-ATF-006043    Mosin-Nagant, 7.62mm rifle, SN R13921
18-ATF-006045    CZ (Ceska Zbrojovka), Model CZ82, 9mm semiautomatic pistol, SN 115501
18-ATF-006046    Mosin-Nagant 7.62mm rifle, SN 32552
18-ATF-006047    Savage, Model 110, .300 caliber bolt-action rifle, SN F602778
18-ATF-006048    Mosin-Nagant, 7.62mm rifle, SN 9130175331
18-ATF-006049    BSA, Model CF-2, .30-06 caliber rifle, SN U7767
18-ATF-006050    Enfield, Model Ishapore 2A1, 7.62mm rifle, SN A10098
18-ATF-006051    Black Rain Ordnance, Model Fallout 15, semiautomatic rifle, SN BR016496
18-ATF-006052    Beretta, Model 92S, 9mm semiautomatic pistol, SN X10739Z
18-ATF-006053    Browning, 10 gauge shotgun, SN 10337NZ192
18-ATF-006056    DPMS, Model A15, .233 caliber, semiautomatic rifle, SN 18769
18-ATF-006057    Hakim,7.9mm, rifle, SN Unknown
18-ATF-006058    Ruger, Model Blackhawk, .357 caliber revolver, SN 520-05972
18-ATF-006059    Russian, Model SKS, 7.62mm semiautomatic rifle, SN RH001637
18-ATF-006060    Crescent-Davis Arms, 20 gauge shotgun, SN 4673
18-ATF-006061    Glock, Model 30, .45 caliber semiautomatic pistol, SN DCG001US
18-ATF-006063    Walther, Model P38, 9mm semiautomatic pistol, SN 1324E
18-ATF-006064    Walther, Model P38, 9mm semiautomatic pistol, SN 008535W
18-ATF-006065    Serbian, M59, 7.62x39mm, rifle, SN C-44528
18-ATF-006066    Tokarev, made by CZ, 7.62mm semiautomatic pistol, SN JM13288
18-ATF-006067    Steyr, Model M95, 8mm rifle, SN M9507952
18-ATF-006068    DSA, Model SA58, .308 caliber semiautomatic rifle, SN DS30366
18-ATF-006069    Ruger, Model 10/22, .22 caliber, semiautomatic rifle, SN 0005-02524
18-ATF-006070    Nagant, Model M1895, 7.62 mm revolver CAL:762 SN V4536
18-ATF-006071    Zastava, Model M57, 7.62mm pistol, SN 101473
18-ATF-006072    FN Herstal, Model FN-49, semiautomatic rifle, SN 4847
18-ATF-006073    Black Rain Ordnance, Model Fallout 15, Receiver/Frame, SN BR016497
18-ATF-006074    Nagant, Model M1895, 7.62mm revolver, SN V4533
18-ATF-006075    Romarm/Cugir, 7.62 mm semiautomatic pistol, SN YC7371953
18-ATF-006076    MAS, Model 1936, 7.5mm, rifle, SN 56645
18-ATF-006077    Canik, Model TP-9SF, 9mm semiautomatic pistol, SN 16 AT 20995
18-ATF-006079    Maadi, Model ARM, 7.62mm semiautomatic rifle, SN AC0056883
18-ATF-006080    Beretta, Model 92FS, 9mm semiautomatic pistol, SN BER050497
18-ATF-006081    Mosin-Nagant, 7.62mm rifle, SN M44088323

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 18-ATF-006083        Glock, Model 23, .40 caliber semiautomatic pistol, SN GMW791
 18-ATF-006084        Hakim, 7.9mm, rifle: SN 96940
 18-ATF-006085        Glock, Model 27, .40 caliber semiautomatic pistol, SN FDZ543
 18-ATF-006086        Radom, Model P64, 9mm semiautomatic pistol, SN BB04488
 18-ATF-006087        Bushmaster, Model XM15-E2S, .223/5.56 caliber semiautomatic rifle, SN
                      L160542
 18-ATF-006088        Steyr, Model M95/34, 8mm rifle, SN M953403578
 18-ATF-006089        Heckler and Koch, Model USP40, .40 caliber semiautomatic pistol, SN 22-
                      22505
 18-ATF-006092        Mosin-Nagant, 7.62mm rifle, SN 9130108367
 18-ATF-006094        Yugoslavian Model 59/66, 7.62mm rifle, SN J-352623
 18-ATF-006095        Russian Model SKS-45, 7.62mm semiautomatic rifle, SN RH001639
 18-ATF-006096        Remington Arms, Model 12C, .22 caliber rifle, SN 640192
 18-ATF-006098        Ruger, Model Mark II, .22 caliber semiautomatic pistol, SN 222-63979
 18-ATF-006099        CZ (Ceska Zbrojovka), Model CZ82, 9mm semiautomatic pistol, SN 095591
 18-ATF-006100        Ruger, Model Super Blackhawk, .44 caliber revolver, SN 85-94476
 18-ATF-006101        Marlin, Model 336, .30-30 caliber lever-action rifle, SN 19054716
 18-ATF-006102        Mossberg, Model 500, 20 gauge, pump-action shotgun, SN V0056319
 18-ATF-006103        Remington, Model 870 Express, 12 gauge, pump-action shotgun, SN
                      W788491M
 18-ATF-006104        Remington, Model 81 .35 caliber rifle, SN 48875
 18-ATF-006105        17,585 rounds of assorted ammunition


18 U.S.C. § 922(g)(4)
18 U.S.C. § 924(a)(1)(B)




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                                           COUNT 2
                       (False Statement in Firearms License Application)

       On or about February 26, 2016, in Grand Traverse County, in the Southern Division of

the Western District of Michigan,

                              MARK ANDREW McMICHAEL

knowingly made a false statement and representation to the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”) in applying to renew a Federal Firearms License (“FFL”).

Specifically, he executed an ATF Form 8, FFL Renewal Application (FFL Type 03 – Collector

of Curios and Relics), representing under penalty of law that he had never been committed to any

mental institution, whereas in truth and in fact he had been committed in 2014.

18 U.S.C. § 924(a)(1)(A).




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                              FORFEITURE ALLEGATION
                 (Committed Person in Possession of Firearms and Ammunition)

       The allegations contained in Count 1 of this Indictment are hereby re-alleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c).

       Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction of the offense

in violation of 18 U.S.C. § 922(g)(4) set forth in Count 1 of this Indictment, the defendant,

                               MARK ANDREW McMICHAEL,

shall forfeit to the United States any firearms and ammunition involved in or used in the knowing

commission of the offense. The property to be forfeited includes, but is not limited to, the firearms

and ammunition listed in Count 1.


                                              A TRUE BILL


                                              __________________________________________
                                              GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney


___________________________________
NILS R. KESSLER
Assistant United States Attorney




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